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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


      IN RE: JOHNSON & JOHNSON                 MDL No. 16-2738 (MAS) (RLS)
      TALCUM POWDER PRODUCTS
      MARKETING, SALES
      PRACTICES, AND PRODUCTS                  Motion Day: July 7, 2025
      LIABILITY LITIGATION


        THIS DOCUMENT RELATES TO ALL CASES

     THE PLAINTIFFS’ STEERING COMMITTEE’S MOTION TO
  COMPEL NON-PARTY PLOS ONE’S COMPLIANCE WITH SUBPOENA
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        PLEASE TAKE NOTICE that, at 9:00 a.m. on July 7, 2025, or at such other

  time as set by the Court, Plaintiffs, by and through the Plaintiffs’ Steering Committee

  (PSC), will Move to Compel Non-Party Public Library of Science (“PLOS”) to

  Comply with the subpoena issued by Plaintiffs on March 20, 2024.

        As fully discussed in Plaintiff’s Memorandum of Law in Support of this

  Motion, the Court should compel PLOS to comply because the discovery sought is

  relevant, proportional, and nonprivileged.

        Plaintiffs respectfully request that the Court grant the Motion to Compel. A

  proposed order is attached for the Court’s consideration.

  Dated: May 23, 2025                     Respectfully submitted,

                                          /s/ P. Leigh O’Dell
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                                          P. Leigh O’Dell
                                          BEASLEY, ALLEN, CROW, METHVIN
                                          PORTIS & MILES, P.C.
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                                   218 Commerce St.
                                   Montgomery, AL 36104
                                   Tel: 334-269-2343
                                   leigh.odell@beasleyallen.com
                                   Plaintiffs’ Co-Lead Counsel

                                   /s/ Michelle A. Parfitt
                                   U




                                   Michelle A. Parfitt
                                   ASHCRAFT & GEREL, LLP
                                   1825 K Street, NW, Suite 700
                                   Washington, DC 20006
                                   Tel: 202-335-2600
                                   mparfitt@ashcraftlaw.com
                                   Plaintiffs’ Co-Lead Counsel

                                   /s/ Christopher M. Placitella
                                   U




                                   Christopher M. Placitella
                                   COHEN, PLACITELLA & ROTH, P.C.
                                   127 Maple Ave.
                                   Red Bank, NJ 07701
                                   Tel: 732-747-9003
                                   clpacitella@cprlaw.com
                                   Plaintiffs’ Liaison Counsel
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                           CERTIFICATE OF SERVICE

        I hereby certify that on May 23, 2025, I electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the CM/ECF participants registered to receive services

  in this MDL.

                                         Respectfully submitted,


                                         /s/ P. Leigh O’Dell
                                         P. Leigh O’Dell
